 

Case 1:15-

US. Department of Justice
United States Marshals Service

 

CRICK

ocument 39 Filed 08/20/15 Page 1of1

See instructions for "Service of Process by US, Marshal"

 

PROCESS RECEIPT AND RETURN

 

PLAINTIFF .
United States of America

COURT CASE NUMBER
15CR-17

 

DEFENDANT

JAY GOLDMAN

 

TYPE OF PROCESS
Anrest-Forfeiture

 

NAME OF [NDIVIDUAL, COMPANY, CORPORATION, FTC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

 

SERVE
AT ADDRESS (Street or RED, Apartment No. City, State and ZIP Code)

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

 

| RICHARD S. HARTUNIAN, United States Attomey, NDNY
James T. Foley Courthouse

445 Broadway

Albany, New York 12207

Number of process to
served with this Forty

US, DISTRICT COURT - W.D. OF N.Y.

 

 

Ibe
24

‘aA

AUG 20 2015

 

Nuunber of parties ta
served in this case

 

be

 

AT.

| O'CLOCK

 

 

 

 

Check for service

Lamreyce K. Baerman, Clerk - Syracuse

 

 

on U.S.A.

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (actude Business and Alternate Addresses,
Aff Telephone Nuntbers, and Estimated Times Available for Service}:

Fold

 

 

: Fold
Please arrest the property and place in your custody.
(15-FBI-004967} $1,000,006.00 Payment
Signature of Attomey other Originator requesting service on behalf af PLAINTIEFE TELEPHONE NUMBER DATE
s/ Sean K. O'Dowd/jfv C] DEFENDANT =| 518-431-0247 8/18/2015

 

 

 

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE

 

[acknowledge receipt for the total
Humber of process indicated.
(Sten only for USM 245 if more
than ane USM 285 is submitted}

 

Total Process

District of
Origin

No DO-

 

District te
Serve

No DO.

 

 

Signature of Authorized USMS Deputy or Clerk

Bn

1

Date

RAGS

 

 

Thereby certify and retum that | 71 have personally served am have legal evidence of service, pa-have executed as shown in “Remarks”, the process described
on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc. shown at the address inserted below.

 

O [hereby certify and return that ] am unabie to locate the individual, company, corporation, etc. named above (See remarks below)

 

 

 

 

 

 

 

 

 

 

 

 

 

Name and title of individual served (ifort shows abuve) [_] A person of suitable age and discection
then residing im defendant's usual place
of abode
Address (complete only different tan shawn above) Date Time
FI am
BAAS C3 pm
$i f U.S. Marshal or Deputy
- Liat ad
t 7
Service Pee Total Mileage Charges] Forwarding Fee Total Charges Advance Deposits Amount owed to!.S. Marshal* or
including endeavers) {Amount of Refund*}
PLUS” Vos.
. >:
REMARKS:

 

 

Tn OSMS Custody aS of OF-11- SOS,

 

‘PRIOR EDITIONS
MAY BE USED

1. CLERK OF THE COURT
2. USMS RECORD
3, NOTICE OF SERVICE

PRENT SC GPIES:

 

4. BILLING STATEMENT *: To be returned to the US. Marsha! with payment,
if any amoynt is owed, Pease remit prompily payable ta US. Marshal,

5, ACKNOWLEDGMENT OF RECEIPT

FORM USM-285
Rev. 12/15/80
Automated 01/00
